










Opinion issued January 27, 2005











In The
Court of Appeals
For The
First District of Texas




NO. 01–04–01166–CV




DOUGLAS A. RULE AND VALERIE K. RULE, Appellants

V.

MARY ANN BOBBITT, DELVA SIEMSEN, SCHMIDT/SIEMSEN, LTD.,
D/B/A DELVA REAL ESTATE SERVICES, D/B/A REAL ESTATE
SERVICES, Appellees




On Appeal from the County Civil Court at Law No. 3
Harris County, Texas
Trial Court Cause No. 777,139




MEMORANDUM OPINIONAppellants Douglas A. Rule and Valerie K. Rule have neither established
indigence, nor paid all the required fees.  See Tex. R. App. P. 5 (requiring payment
of fees in civil cases unless indigent), 20.1 (listing requirements for establishing
indigence); see also Tex. Gov’t Code Ann. §§ 51.207, 51.941(a), 101.041 (Vernon
Supp. 2004) (listing fees in court of appeals); Fees Civ. Cases B(1), (3) (listing fees
in court of appeals).  After being notified that this appeal was subject to dismissal,
appellants Douglas A. Rule and Valerie K. Rule did not adequately respond.  See
Tex. R. App. P. 5 (allowing enforcement of rule); 42.3(c) (allowing involuntary
dismissal of case).
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The appeal is dismissed for nonpayment of all required fees.  All pending
motions are denied.
PER CURIAM
Panel consists of Justices Nuchia, Jennings, and Hanks.


